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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                         )
MICHAEL DARDASHTIAN, individually and on )               Case No. 17 CV 4327 (LLS)(RWL)
behalf of COOPER SQUARE VENTURES, LLC )
NDAP, LLC and CHANNEL REPLY              )
                   Plaintiffs,           )
                                         )
        -against-                        )
                                         )
DAVID GITMAN, ACCEL COMMERCE,            )                  PROPOSED AMENDED
LLC, DALVA VENTURES, LLC,                )                  SCHEDULING ORDER
KONSTANTYN BAGAIEV, OLESKKII             )
GLUKHAREV and CHANNEL REPLY, INC.        )
                   Defendants.           )
                                         )

       WHEREAS, the Court directed at the July 19, 2018 settlement conference for the

parties to confer as to an amended discovery schedule;

       WHEREAS, on September 10, 2018, the parties submitted to the Court a joint letter

setting forth a proposed amended discovery schedule;

       WHEREAS, on September 11, 2018, the Court Ordered the parties to submit a

proposed revised scheduling order for entry consistent with the proposed schedule set forth in

the parties’ September 10, 2018 filing;

       NOW, THEREFORE, the parties submit the following:

       1. Paper discovery and ESI production shall be completed by October 30, 2018;

       2. Fact witness depositions shall be completed by December 30, 2018;

       3. Expert reports shall be exchanged by February 15, 2019;

       4. Expert depositions shall be completed by March 15, 2019;

       5. The Parties shall file dispositive motions by April 30, 2019; and
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            6. The joint pretrial order shall be submitted within 30 days after a decision on
               dispositive motions.




SO ORDERED
Dated:                                  ______________________________
                                        Robert W. Lehrburger, U.S.M.J.




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